Case: 2:23-cv-01916-MHW-CMV Doc #: 13 Filed: 06/14/23 Page: 1 of 18 PAGEID #: 142




                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

 Zahara Ariel LLC, et al.,

                Plaintiffs,                       CaseNo. 2:23-cv-1916

        V.                                        Judge Michael H. Watson

 Lionsgate Entertainment                          Magistrate Judge Vascura
 Corporation, et al.,

               Defendants.



                                 OPINION AND ORDER

        Zahara Ariel LLC ("Zahara") and Jaryah Bobo ("Bobo, " collectively

 "Plaintiffs") move for a temporary restraining order ("TRO") against Lionsgate

 Entertainment Corporation ("Lionsgate"), MRC II Distribution Company L.P.

 ("MRC"), Hot Sauce LLC ("Hot Sauce"), Oaktree Entertainment LLC ("Oaktree"),

 AMC Entertainment Holdings, LLC ("AMC"), Dewayne Perkins ("Perkins"), and

 Latesha Williams ("Williams, " collectively "Defendants"). ECF No. 2. AMC

 Entertainment Holdings, LLC ("AMC") is also a defendant in this case. See

 Second Am. Compl., ECF No. 11. 1 Lionsgate, MRC, Hot Sauce, and Oaktree




 1 After Plaintiffsfiled their motion for a TRO, Plaintiffs amended their complaint and
 added AMC as a Defendant. See Second Amend. Compl., ECF No. 11. Therefore,
 Plaintiffs do not move for a TRO againstAMC.
Case: 2:23-cv-01916-MHW-CMV Doc #: 13 Filed: 06/14/23 Page: 2 of 18 PAGEID #: 143




 ("Moving Defendants") challenge the Court's personal jurisdiction over them.

 ECF Nos. 6 & 8.2

        For the following reasons, the Court concludes that it does not have

 personal jurisdiction over Moving Defendants and sua sponte transfers this case

 to the Central District of California.

                                    I.    BACKGROUND

        Plaintiffs allege the following: Bobo created a card game called "Black

 Card Revoked" (the "Game"). Second Amend. Compl. If 22, ECF No. 11. The

 Game went "viral, " and spawned several spin-off games and a television series

 on Black Entertainment Television ("BET") by the same title. Id. If 32.

       The day after the final episode aired on BET, on April 13, 2018, Comedy

 Central aired a comedy sketch called "The Blackening, " which seemed to take a

 lot of inspiration from the Game and/or the Southern Education screenplay. Id.

 II 39. On April 13, 2020, Bobo registered a screenplay entitled Southern

 Education with essentially the same plot with the U. S. Copyright Office. Id. ^ 43.

        Eventually, the comedy sketch turned into a movie, "The Blackening, " with

 substantially the same plot as the comedy sketch (the "Movie"). Id. ^ 52-53

 Plaintiffs allege that the movie contains themes and direct quotes from the

 Game. Id. If 54. Plaintiffs allege that they did not approve, authorize, or license




 2 DefendantsAMC, Perkins, and Williams have not yet been served with a copy of the
 Second Amended Complaint, nor have they submitted briefs on the issue of personal
 jurisdiction.
 Case No. 2:23-cv-1916                                                   Page 2 of 18
Case: 2:23-cv-01916-MHW-CMV Doc #: 13 Filed: 06/14/23 Page: 3 of 18 PAGEID #: 144




 the use of their intellectual property, nor have they been compensated for that

 use. /cf. 1ff[ 60-61.

          Plaintiffs now seek a TRO. ECF No. 2. Among other relief, Plaintiffs ask

 the Court to enjoin the release, distribution, screening, streaming, broadcasting,

 or other showing of the Movie. Id.

         As a preliminary note, the Court observes that the Movie has already been

 shown publicly. See https://www. nytimes. com/2023/06/08/movies/the-

 blackening-behind-the-scenes. html. 3 This does not, however, moot this case.

 Continuing infringement is its own injury. Cf. ACT, Inc. v. Worldwide Interactive

 Network, No. 3:18-CV-186, 2021 WL 5161678, at *14 (E. D. Tenn. Aug. 18, 2021)

 (explaining, in a different context, that the plaintiff would continue to be harmed if

 the defendant continued infringing).

                              II.    PERSONALJURISIDCTION

         The Court construes Moving Defendants' briefing on personal jurisdiction

 as motions under Federal Rule of Civil Procedure 12(b)(2).

    A.      Standard of Review

         Plaintiff has the burden of proving personal jurisdiction. Theunissen v.

 Matthews, 935 F. 2d 1454, 1458 (6th Cir. 1991) (citing cases). Federal Rule of

 Civil Procedure 12(b)(2) allows a defendant to raise the defense of lack of

 personal jurisdiction by motion. Fed. R. Civ. P. 12(b)(2). If the Court rules on a


 3 As the article explains, the Movie was shown at the Toronto International Film Festival
 in the fall of 2022 and was shown again at the Tribeca Festival on June 13, 2023.
 Case No. 2:23-cv-1916                                                       Page 3 of 18
Case: 2:23-cv-01916-MHW-CMV Doc #: 13 Filed: 06/14/23 Page: 4 of 18 PAGEID #: 145




 Rule 12(b)(2) motion prior to trial, "it has the discretion to adopt any of the

 following courses of action: (1) determine the motions based on affidavits alone;

 (2) permit discovery, which would aid in resolution of the motion; or (3) conduct

 an evidentiary hearing on the merits of the motion. " Intera Corp. v. Henderson,

 428 F. 3d 605, 614 n. 7 (6th Cir. 2005) (internal citation omitted). "[T]he decision

 whether to grant discovery or an evidentiary hearing before ruling on a 12(b)(2)

 motion is discretionary. " Burnshire Dev., LLC v. Cliffs Reduced Iron Corp., 198

 F. App'x 425, 434 (6th Cir. 2006).

        When, as here, a court resolves a Rule 12(b)(2) motion based on "written

 submissions and affidavits .. . rather than resolving the motion after an

 evidentiary hearing or limited discovery, the burden on the plaintiff is 'relatively

 slight, '... and 'the plaintiff must make only a prima facie showing that personal

 jurisdiction exists in order to defeat dismissal. '" Air Prods. & Controls, Inc. v.

 Safetech Int'l, Inc., 503 F. 3d 544, 549 (6th Cir. 2007) (quoting Am. Greetings

 Corp. v. Cohn, 839 F.2d 1164, 1169 (6th Cir. 1988) and Theunissen, 935 F.2d at

 1458)); see a/so Compuserve, Inc. v. Patterson, 89 F. 3d 1257. 1262 (6th Cir.

 1996) ("[A] court disposing of a 12(b)(2) motion does not weigh the controverting

 assertions of the party seeking dismissal. " (internal quotation marks and citations

 omitted)).

        After a 2020 revision, Ohio's long-arm statute became co-extensive with

 the limits of the federal Due Process Clause. Ohio Rev. Code § 2307. 382(0) ("In

 addition to a court's exercise of personal jurisdiction under division (A) of this
 Case No. 2:23-cv-1916                                                      Page 4 of 18
Case: 2:23-cv-01916-MHW-CMV Doc #: 13 Filed: 06/14/23 Page: 5 of 18 PAGEID #: 146




 section, a court may exercise personal jurisdiction over a person on any basis

 consistent with the Ohio Constitution and the United States Constitution. "); 2020

 Ohio Laws File 44 (Am. H. B. 272) (amending Ohio's long-arm statute to make it

 co-extensive with the federal Due Process Clause); see a/so C. T. i/. Red Roof

 Inns, Inc., No. 2:19-CV-5384, 2021 WL 2942483, at*10 (S. D. Ohio July 1, 2021),

 appeal dismissed. No. 21-3635, 2021 WL4739619 (6th Cir. Aug. 4, 2021) (citing
 to Ohio Rev. Code § 2307. 382(0) and observing that Ohio's long-arm statute and

 the U. S. Constitution "are now coextensive"). So, if the Court finds that it has

 personal jurisdiction over Defendants under the federal Due Process Clause, it

 will also have personal jurisdiction over Defendants under Ohio's long-arm

 statute. See Bridgeport Music, Inc. v. Still N the Water Pub., 327 F. 3d 472, 477

 (6th Cir. 2003) ("Where the state long-arm statute extends to the limits of the due

 process clause ... the court need only determine whether exercising personal

 jurisdiction violates constitutional due process. " (internal citations omitted)).

    B.      Analysis

         As a rule, "[p]ersonal jurisdiction must be analyzed and established over

 each defendant independently. " Days Inns Worldwide, Inc. v. Patel, 445 F. 3d

 899, 904 (6th Cir. 2006). Here, however, all Defendants are citizens of states

 other than Ohio, and Plaintiff's allegations are nearly identical for all three

 Defendants. See generally. Second Amend. Compl., ECF No. 11. So, if the

 Court were to analyze personal jurisdiction separately for each Defendant, it

 would repeat itself almost verbatim four times over. Thus, this case is a rare

 Case No. 2:23-cv-1916                                                      Page 5 of 18
Case: 2:23-cv-01916-MHW-CMV Doc #: 13 Filed: 06/14/23 Page: 6 of 18 PAGEID #: 147




 instance where it is appropriate to analyze personal jurisdiction over the Moving

 Defendants as a group. See Smal & Partners UK Ltd. v. Podhurst Orseck P. A.,

 No. CIV. 11-5260 JLL, 2012 WL 1108560, at *3 (D. N.J. Mar. 2, 2012), report and

 recommendation adopted, No. CIV.A. 11-05260 JLL, 2012 WL 1107727 (D. N.J.

 Apr. 2, 2012) (acknowledging that, as a rule, "a court analyzes specific personal

 jurisdiction on a defendant-by-defendant" basis, but observing that "[c]ertain

 situations, however, may allow a court to assess defendants together" (citing

 cases)).

       The relevant Due Process inquiry is "whether the facts of the case

 demonstrate that the non-resident defendant possesses such minimum contacts

 with the forum state that the exercise of jurisdiction would comport with

 'traditional notions affair play and substantial justice. '" Theunissen, 935 F.2d at

 1459 (quoting Int'l Shoe Co. v. State of Wash., 326 U. S. 310, 316 (1945)). The

 Court may exercise personal jurisdiction over a non-resident defendant based on

 either general or specific jurisdiction. See Bird v. Parsons, 289 F. 3d 865, 873

 (6th Cir. 2002). Only specific jurisdiction is at issue here.

       The Sixth Circuit has established a three-part test to determine whether

 specific personal jurisdiction exists over a non-resident defendant:

       First, the defendant must purposefully avail himself of the privilege of

 acting in the forum state or causing a consequence in the forum state. Second,

 the cause of action must arise from the defendant's activities there. Finally, the

 acts of the defendant or consequences caused by the defendant must have a
 Case No. 2:23-cv-1916                                                   Page 6 of 18
Case: 2:23-cv-01916-MHW-CMV Doc #: 13 Filed: 06/14/23 Page: 7 of 18 PAGEID #: 148




 substantial enough connection with the forum state to make the exercise of

 jurisdiction over the defendant reasonable. Air Prods. & Controls, Inc., 503 F. 3d

 at 550 (quoting S. Mach. Co. v. Mohasco Indus., Inc., 401 F. 2d 374, 381 (6th Cir.

  1968)). As the Sixth Circuit has explained, this test is "based on existing

 Supreme Court jurisprudence on personal jurisdiction, primarily International

  Shoe. " Air Prod. & Controls, Inc., 503 F. 3d at 550. Further, "the approach simply

 applies in a specific fashion the broad rule requiring substantial minimum

 contacts as a basis for jurisdiction. " Id. (internal quotation marks and citations

 omitted).

        1.     Purposeful Availment

        The first prong requires that a defendant purposefully avail himself of the

 privilege of acting in the forum state. Parker v. Winwood, 938 F. 3d 833, 839 (6th

 Cir. 2019) (cleaned up). "Purposeful availment" is the "constitutional touchstone"

 of personal jurisdiction and is present where the defendant's conduct and

 connection with the forum are such that he "should reasonably anticipate being

 haled into court there. " Burger King Corp. v. Rudzewicz, 471 U. S. 462, 474,

 (1985) (quoting \NorW-W}de Volkswagen Corp. v. Woodson, 444 U. S. 286, 297

 (1980)). "This 'purposeful availment' requirement ensures that a defendant will

 not be haled into a jurisdiction solely as a result of 'random, ' 'fortuitous, ' or

 'attenuated' contacts, or of the 'unilateral activity of another party or a third

 person. '" Id. at 475 (internal citations omitted).



 CaseNo. 2:23-cv-1916                                                         Page 7 of 18
Case: 2:23-cv-01916-MHW-CMV Doc #: 13 Filed: 06/14/23 Page: 8 of 18 PAGEID #: 149




        The "'purposeful availment' requirement is satisfied when the defendant's

 contacts with the forum state 'proximately result' from actions by the defendant

 himself Vr\at create a 'substantial connection' with the forum State. " Compuserve

 Inc., 89 F. 3d at 1263 (quoting Burger King, 471 U. S. at 474-75) (emphasis in

 original). The quality and nature of the defendant's contacts are crucial to the

 determination of purposeful availment. See Burger King, 471 U. S. at 475

 (explaining that purposeful availment cannot be based on the "unilateral activity

 of another party or a third person" (internal quotation marks and citations

 omitted)). However, "physical presence in a forum state is not required. " Air

 Prod. & Controls, Inc., 503 F. 3d at 551.

        Here, Plaintiffs allege the following relevant contacts with the forum:

    .   Plaintiffs are informed and believe and thereby allege that Lionsgate "won
        a bidding battle to acquire worldwide rights to MRC's The Blackening, " and
        that the deal between Lionsgate and MRC "calls for a wide theatrical
        distribution. " Second Am. Compl. ^ 8, ECF No. 11.

    .   Plaintiffs are informed and believe and thereby allege that MRC knew and
        intended that Lionsgate would distribute The Blackening movie nationwide
        if not worldwide, including in this Judicial District. Id. ^ 9.

    .   Plaintiffs are informed and believe and thereby allege that the distribution
        agreement between Lionsgate and MRC expressly and affirmatively
        requires Lionsgate to distribute The Blackening movie to movie theaters
        nationwide, including in this Judicial District. Id. ^ 10.

    .   Plaintiffs are informed and believe and thereby allege that the distribution
        agreement between Lionsgate and MRC expressly and affirmatively
        requires Lionsgate to distribute The Blackening movie to AMC movie
        theaters, including AMC movie theaters in this Judicial District, /d. 1[ 11.

    .   The Blackening movie is in fact scheduled to be screened on a limited
        basis in a number ofAMC movie theaters in this Judicial District as early
 CaseNo. 2:23-cv-1916                                                     Page 8 of 18
Case: 2:23-cv-01916-MHW-CMV Doc #: 13 Filed: 06/14/23 Page: 9 of 18 PAGEID #: 150




          as the evening of June 15, 2023, with all-day screenings scheduled to
          begin in those theaters on June 16, 2023 ... /c/. I112.

          This case is similar to the Sixth Circuit case Bridgeport Music, which the

 Sixth Circuit has subsequently summarized as follows:

          There, plaintiffs (which we referred to collectively as "Bridgeport") brought a
          copyright-infringement lawsuit in the Middle District of Tennessee against a
          Texas corporation (which we referred to as "NTW") and a Florida company
          (which we referred to as "DM"). The district court dismissed the case for
          lack of personal jurisdiction, and on appeal we affirmed the dismissal of
          NTW but reversed the dismissal of DM. In doing so, we adopted what is
          known as the "stream of commerce 'plus' " theory of specific personal
          jurisdiction. Under that theory, for a defendant to purposely avail himself of
          the privilege of acting within a forum state, he must do more than merely
          place a product into the stream of commerce.

          When applying the "plus" approach in Bridgeport Music, we encountered
          identical arguments for each defendant. Bridgeport claimed that NTW and
          DM both had licensing agreements with third parties that distributed the
          allegedly infringing music nationwide (and thus in Tennessee). But we
          picked up on a subtle yet important distinction between the companies:
          Bridgeport had not shown that NTW did anything to direct its distributor's
          activities into Tennessee, but Bridgeport had shown that DM affirmatively
          "sought" distribution in all fifty States. Put differently, while NTW was "merely
          aware" that its distributor was likely to spread its music throughout all fifty
          states, DM made a "deliberate decision" to pursue such dissemination.

 Parker, 938 F. 3d at 840-41 (cleaned up).

          Additionally, if Plaintiffs can show that Moving Defendants requested or

 required distribution of the Movie within all fifty states, that may be enough to

 show purposeful availment. Id. at 841. Here, then, the question is whether

 Moving Defendants made a "deliberate decision" to distribute the Movie in Ohio,

 or if they were "merely aware" that the Movie would likely be distributed in this

 state.


 CaseNo. 2:23-cv-1916                                                        Page 9 of 18
Case: 2:23-cv-01916-MHW-CMV Doc #: 13 Filed: 06/14/23 Page: 10 of 18 PAGEID #: 151




         Lionsgate and MRC entered into an acquisition agreement (the

  "Acquisition Agreement") which required Lionsgate to release the Movie to a

  certain number of screens simultaneously in the United States and Canada.4

  What is absent from the Acquisition Agreement is any requirement that either

  Lionsgate or MRC II "directed distribution of the [Movie] within the United States

  or specifically within [Ohio]. " Parker, 938 F. 3d at 840. Rather, the Acquisition

  Agreement requires distribution only to a certain number of screens in the United

  States and Canada. It does not require distribution "throughout" the United

  States, in every state within the United States, or even in the Midwest region (let

  alone in Ohio). Although this is a narrow distinction, the distinction is dispositive

  under Bridgeport Music and Parker.

         Accordingly, because Moving Defendants "submitted affirmative evidence

  showing that the Court lacks jurisdiction over them, Plaintiffs' mere allegations of

 jurisdiction are not enough. " Parker, 938 F. 3d at 839 (cleaned up). Furthermore,

  the evidence undermines Plaintiffs' allegations of personal jurisdiction and shows

  only that Moving Defendants may have been "merely aware" that the Movie

  would be distributed in Ohio and does not support Plaintiff's allegations that

  Moving Defendants made a deliberate decision to distribute the Movie in Ohio.




 4 At the Court's request, Counsel for MRC, Hot Sauce, and Oaktree submitted a copy of
 the Acquisition Agreement between Lionsgate and MRC to the Court for in camera
  review, and provided a copy to Plaintiffs subject to a confidentiality agreement.
  Case No. 2:23-cv-1916                                                       Page 10 of 18
Case: 2:23-cv-01916-MHW-CMV Doc #: 13 Filed: 06/14/23 Page: 11 of 18 PAGEID #: 152




  Therefore, Plaintiffs cannot demonstrate that Moving Defendants purposefully

  availed themselves of Ohio.

        Plaintiffs also argued during a teleconference that they are either an Ohio

  resident or Ohio LLC, that they developed the Game and Southern Education in

 Ohio, and that Moving Defendants' copyright infringement intentionally caused

  harm in Ohio. See a/so Second Amend. Compl. ^ 3-4, 18, ECF No. 11.

        Walden v. Fiore forecloses this argument. In Walden, the Supreme Court

 held that "the plaintiff cannot be the only link between the defendant and the

 forum. " 571 U. S. 277, 285. Therefore, a "mere injury to a forum resident is not a

 sufficient connection to the forum. " Id. at 289-90; see a/so Parker, 938 F. 3d at

 840.

        2.    Arising From

        Under the second part of the test, the cause of action must "arise from" the

 defendant's activities in the forum state. See Air Prods. Controls Inc., 503 F. 3d

 at 553. A cause of action "arises from" a defendant's activities in the state when

 the defendant's contacts with the forum state are related to the operative facts of

 the plaintiff's cause of action. Compuserve, Inc., 89 F. 3d at 1267. Said another

 way, "[i]n order for a court to exercise specific jurisdiction over a claim, there

 must be an 'affiliation between the forum and the underlying controversy,

 principally, [an] activity or an occurrence that takes place in the forum State. '"

 Bristol-Myers Squibb Co. v. Superior Ct. of California, San Francisco Cty., 137 S.



 CaseNo. 2:23-cv-1916                                                     Page 11 of 18
Case: 2:23-cv-01916-MHW-CMV Doc #: 13 Filed: 06/14/23 Page: 12 of 18 PAGEID #: 153




  Ct. 1773, 1781 (2017) (quoting Goodyear Dunlop Tires Operations, S. A. v.

  Brown, 564 U. S. 915, 919 (2011)).

         Here, the cause of action does not arise out of Moving Defendants'

  activities in or contacts with Ohio. Moving Defendants' only apparent connection

  to Ohio is distributing the Movie to theaters in Ohio; however, as the Court

  explained above, there is no evidence that Moving Defendants intentionally

  targeted Ohio. "Given the above conclusion that Plaintiffs have not

  demonstrated that Moving Defendants had sufficient minimum contacts with

  Ohio, Plaintiffs' cause of action for copyright infringement cannot arise from

  Defendant's Ohio activities[. ]" Campinha-Bacote v. Wick, No. 1:15-CV-277, 2015

  WL 7354014, at *7 (S. D. Ohio Nov. 20, 2015) (cleaned up) (citing Haley v. City of

  Akron, No. 5:13-cv-232, 2014 WL 804761, at *9 (N. D. Ohio Feb. 27, 2014)).

         3.     Reasonableness

         Finally, courts employ several factors to determine whether there is a

  sufficient connection such that exercise of personal jurisdiction is reasonable.

  They include: (1) the burden on the defendant to litigate in the forum state;

  (2) the interest of the forum state; (3) the plaintiffs interest in obtaining relief; and

  (4) the interest of other states in securing the most efficient resolution of the

  case. Compuserve Inc., 89 F. 3d at 1268 (internal quotation marks and citations

  omitted).

        Again, because Plaintiffs "fail to satisfy the first two prongs of the test-

 either of which is dispositive-the Court need not dwell on the third. " Baker v.

  Case No. 2:23-cv-1916                                                     Page 12 of 18
Case: 2:23-cv-01916-MHW-CMV Doc #: 13 Filed: 06/14/23 Page: 13 of 18 PAGEID #: 154




  Bensalz Prods., Inc., 480 F. Supp. 3d 792, 807 (S. D. Ohio 2020) (citing LAK,

  Inc., v. Deer Creek Enters., 885 F. 2d 1293, 1303 ("[E]ach criterion represents an

  independent requirement, and failure to meet any one of the three means that

  personal jurisdiction may not be invoked. ")).

                                          III.   JOINDER

         Because the Court lacks personal jurisdiction over Moving Defendants,

  and because non-moving Defendants have not addressed the issue, the Court

  must decide whether to (1) dismiss Moving Defendants from this case, or

  (2) dismiss or transfer the entire case. The Court turns to the Rule 19 Joinder

  framework for guidance.

     A. Standard of Review

         Whether joinder is proper under Federal Rule of Civil Procedure 19 is a

  three-step process:

         First, the court must determine whether the person or entity is a necessary

  party under Rule 19(a).

         Second, if the person or entity is a necessary party, the court must then

  decide ifjoinder of that person or entity will deprive the court of subject matter

 jurisdiction.

         Third, if joinder is not feasible because it will eliminate the court's ability to

  hear a case, the court must analyze the Rule 19(b) factors to determine whether

  the court should "in equity and good conscience" dismiss the case because the



  CaseNo. 2:23-cv-1916                                                       Page 13 of 18
Case: 2:23-cv-01916-MHW-CMV Doc #: 13 Filed: 06/14/23 Page: 14 of 18 PAGEID #: 155




  absentee is indispensable. Glancy v. Taubman Ctrs. Inc., 373 F. 3d 656, 666 (6th

  Cir. 2004) (internal quotation marks and citations omitted) (emphasis in original).

        1. Necessary Party

        As for the first step, Rule 19(a)(1) instructs that a required party is one

 where.

    (A) in that person's absence, the court cannot accord complete relief
        among existing parties; or

    (B) that person claims an interest relating to the subject matter of the
        action and is so situated that disposing of the action in the person's
        absence may:

             (i) as a practical matter impair or impede the person's ability to
                protect the interest; or

             (ii) leave an existing party subject to a substantial risk of incurring
                double, multiple, or otherwise inconsistent obligations because
                of the interest.

 Fed. R. Civ. P. 19(a)(1).

        "Under Rule 19(a)(1)(B), a party can be deemed 'necessary' to litigation if

 it is a party to an agreement in dispute. " Spielman v. IMG Coll., LLC, No. 2:17-

 CV-612, 2019 WL 13044154, at * 3 (S. D. Ohio Nov. 27, 2019) (internal citation

 omitted).

          Here, all Defendants are allegedly involved in some way with the infringing

 actions. In addition, several Moving Defendants are parties to contracts involving

 relevant IP rights. Although this is not a traditional contract case, the contracts

 related to the assignments of the IP may be important. At the very least, whether

 Moving Defendants have infringed upon the IP that is the subject of those
 Case No. 2:23-cv-1916                                                     Page 14 of 18
Case: 2:23-cv-01916-MHW-CMV Doc #: 13 Filed: 06/14/23 Page: 15 of 18 PAGEID #: 156




  contracts is in question. Thus, because Moving Defendants are parties to a

  contract, the subject matter of which is central to this dispute, Moving Defendants

  claim "an interest relating to the subject matter of the action and is so situated

  that disposing of the action in the person's absence may ... asa practical matter

  impair or impede the person's ability to protect the interest. " Fed. R. Civ. P.

  19(a)(1).
              a. Properly Joined?

        Because Moving Defendants are necessary parties, the Court must next

  consider whether they can be joined. In that consideration, the Court must

  evaluate both whether joinder would destroy the Court's subject matter

 jurisdiction and whether the Court has personal jurisdiction. Because the Court

  has already determined that it lacks personal jurisdiction over Moving

  Defendants, Moving Defendants cannot be properly joined.

              b. Indispensable Party

        Next, the Court must determine "whether, in equity and good conscience,

 the action should proceed among the existing parties or be dismissed. " Fed. R.

 Civ. P. 19(b). Factors to aid in this determination include:

    (1) the extent to which a judgment rendered in the person's absence
        might prejudice that person or the existing parties;

    (2) the extent to which any prejudice could be lessened or avoided by:

                (A) protective provisions in the judgment;

                (B) shaping the relief; or


 CaseNo. 2:23-cv-1916                                                    Page 15 of 18
Case: 2:23-cv-01916-MHW-CMV Doc #: 13 Filed: 06/14/23 Page: 16 of 18 PAGEID #: 157




               (C) other measures;

     (3) whether a judgment rendered in the person's absence would be
        adequate; and

     (4) whether the plaintiff would have an adequate remedy if the action
        were dismissed for nonjoinder.

  Fed. R. Civ. P. 19(b).

        The inability to join a required party does not always result in dismissal.

  Republic of Philippines v. Pimentel, 553 U. S. 851, 862 (2008). Rather, the court

  must undergo a "case specific" analysis ... based on factors varying with the

  different cases, some such factors being substantive, some procedural, some

 compelling by themselves, and some subject to balancing against opposing

  interests" to determine whether a party is also indispensable to the litigation. Id.

 (internal citation omitted).

        Pre'udice. In this case, Moving Defendants would likely be prejudiced if

 this case continued without them. There is no one in this case that has a

 "complete identity of interests" with Moving Defendants. Glancy, 373 F. 3d at

 672. Thus, Moving Defendants are not adequately represented here and would

 be prejudiced by an inability to protect their interests in this case. Id. In addition,

 existing parties could be prejudiced because a judgment entered in Moving

 Defendants' absence would not bind Moving Defendants and, therefore, they

 could potentially still release an allegedly infringing product. Cf. Spielman, 2019

 WL 13044154, at *5 (concluding that, absent a necessary party being joined, any

 injunction would only prohibit the other parties from infringing on individuals'
 Case No. 2:23-cv-1916                                                    Page 16 of 18
Case: 2:23-cv-01916-MHW-CMV Doc #: 13 Filed: 06/14/23 Page: 17 of 18 PAGEID #: 158




  names, image, and likeness, but would not stop the use altogether). Indeed,

  because Plaintiffs are seeking a TRO restraining distribution of the Movie, and

  Moving Defendants are seemingly in the best position to halt distribution, Moving

  Defendants are the real parties in interest in this case and would be prejudiced if

  the case continued without them. See Soberay Mach. & Equip. Co. v. MRF Ltd.,

  Inc., 181 F. 3d 759, 769 (6th Cir. 1999) (holding that the defendants in the case

  were prejudiced when the real party in interest was not a party to the case).

        Lessen Pre'udice and Ade uac of Jud ment. Here, the prejudice could

  not be lessened. Suppose Plaintiffs prevail in this case. In that instance, there

  would be no way for the Court to both adequately address Plaintiffs' injury and

  protect Moving Defendants. That is, any adequate relief to Plaintiff would have to

  include enjoining the infringing conduct, but Defendants would have an interest in

  continuing that conduct-and would never have had the opportunity to contest

 the issue. Again, Moving Defendants are the real parties in interest in this case.

  Soberay, 181 F. 3d at 769 (holding, under this factor, that the prejudice cannot be

  lessened or avoided when the real party in interest is not a party to the action);

 cf. Lykins v. Westinghouse Bee., 710 F. Supp. 1122, 1125 (E. D. Ky. 1988)

 (finding no ability to lessen prejudice where the absent parties' interests and the

 plaintiffs interest in an injunction are "mutually exclusive").

        Ade uate Remed . Here, there is an adequate remedy: Plaintiffs can

 pursue this case in the Central District of California, where Moving Defendants

 would likely be subject to general personal jurisdiction and other Defendants
 Case No. 2:23-cv-1916                                                  Page 17 of 18
Case: 2:23-cv-01916-MHW-CMV Doc #: 13 Filed: 06/14/23 Page: 18 of 18 PAGEID #: 159




  would likely be subject to specific personal jurisdiction. Although Rule 19

  focuses on dismissal of the action, because this case involves a TRO with a

  quickly-approaching deadline, the Court finds that it is in the interests ofjustice

  and judicial economy to sua sponte transfer this case.

                                     IV.    CONCLUSION

        Accordingly, the Clerk is DIRECTED to transfer this case to the Western

  Division of the Central District of California with notice of a pending TRO.

        IT IS SO ORDERED.


                                            ICHAEL H. WATSON, JUDGE
                                           UNITED STATES DISTRICT COURT




  CaseNo. 2:23-cv-1916                                                   Page 18 of 18
